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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                            EASTERN DIVISION

MELISSA KELLY HOYLE                      )
                                         )
       v.                                )     CASE NO. 3:21-CV-396-WKW
                                         )              [WO]
UNITED STATES OF AMERICA                 )

                                     ORDER

       On October 7, 2021, the Magistrate Judge filed a Recommendation to which

no timely objections have been filed. (Doc. # 6.) Upon an independent review of

the record, it is ORDERED that the Recommendation is ADOPTED and that this

action is TRANSFERRED to the United States District Court for the Northern

District of Alabama pursuant to 28 U.S.C. § 1631.

       The Clerk of the Court is DIRECTED to take the necessary steps to effectuate

the transfer of this action.

       DONE this 3rd day of November, 2021.

                                           /s/ W. Keith Watkins
                                      UNITED STATES DISTRICT JUDGE
